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 9
                           UNITED STATES DISTRICT COURT
10
                        SOUTHERN DISTRICT OF CALIFORNIA
11
      UNITED STATES OF AMERICA,                   Case No. 20CR1566-DMS
12

13
                                                     SUPERSEDING INFORMATION
            V.
14                                                Title 18, United States Code, Section 371 -
15    MELINDA ELIZABETH GREEN,                    Conspiracy; Title 18, United States Code,
      CHARLES RONALD GREEN, JR.,                  Section 134 7 -Health Care Fraud; and Title
16                                                28, U.S.C., § 2461(c)- Criminal Forfeiture
17                 Defendants.

18
           The United States charges that, at all times relevant:
19
                              INTRODUCTORY ALLEGATIONS
20
           1.     Defendants Melinda Elizabeth Green and Charles Ronald Green, Jr. were
21
      owners or officers of companies as follows :
22
                  a. NHS PHARMA, INC. (NHS) - Melinda GREEN was the Chief Executive
23
                     Officer (CEO). Charles Ronald GREEN became the CEO and Director.
24
                  b. NHS PHARMA SALES, INC. (NHS PHARMA) - Melinda GREEN was
25
                     a Director. Charles Ronald GREEN was the CEO.
26
                  c. FOCUS DME BILLING INC. (FOCUS) -- Melinda GREEN was a
27
                     Director/Officer. Charles Ronald GREEN was the CEO and a Director.
28
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                 d. FOCUS DME MANAGEMENT INC. (FOCUS MGMT) -- Melinda
 1
                    GREEN was a Director/Officer. Charles Ronald GREEN was the CEO and
 2
                    a Director.
 3
                 e. PRV MEDICAL SUPPLY INC. (PRV) - Melinda GREEN was the CEO.
 4
                    PRV applied to become a supplier of Durable Medical Equipment (DME)
 5
                    to Medicare patients, and its ownership changed to Melinda GREEN on
 6
                    September 1, 2018.
 7
                 f. EZ LIFE MEDICAL SUPPLY, INC. (EZ LIFE) - Charles Ronald GREEN
 8
                    was the CEO and Director. EZ LIFE applied to become a supplier ofDME
 9

10
                    to Medicare patients, and its ownership changed on June 1, 2018 to Charles

11
                    Ronald GREEN.

12
                 g. ZEE & ASSOCIATES INC. (ZEE) - Charles Ronald GREEN was the

13
                    Agent for Process. ZEE applied to become a supplier ofDME to Medicare

14
                    patients, and its ownership changed on June 15, 2019 to Charles Ronald

15
                    GREEN.

16
                 h. CHOICE MEDICAL PRODUCTS, INC. (CHOICE) - Charles Ronald

17
                    GREEN was the CEO and President. CHOICE applied to become a supplier

18                  of DME to Medicare patients.

19         2.    Brookhaven Specialty Pharmacy, LLC. (Brookhaven) was a compounding

20
     pharmacy located in the Northern District of Oklahoma.

21         3.    SKR Services and Ventures LLC (SKR) was a Florida company with its

22   principal place of business in the Southern District of Florida that purportedly marketed

23   compounded medications dispensed by Brookhaven and other compounding pharmacies.

24         4.    Red Rock Operations, LLC (Red Rock) was a warehousing and packaging

25   company located in the Northern District of Georgia.

26         5.    Square One, LLC (Square One) was an insurance eligibility screenmg

27   company located in the Northern District of Georgia.

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           6.     TRICARE was a federal health care benefit program affecting commerce, as
 1
     defined in Title 18, United States Code, Section 24(b ), that provides civilian health benefits
 2
     for military personnel, military retirees, and military dependents.
 3
           7.     Medicare was a federal health care benefit program affecting commerce, as
 4
     defined in Title 18, United States Code, Section 24(b ), that provides health benefits to
 5
     persons who are sixty-five years of age or older, or disabled. Providers who submit claims
 6

 7
     to Medicare for reimbursement agree and certify that all claims they submit comply with
     all Medicare rules and regulations, including that the claim not violate the Anti-Kickback
 8

 9
     Statute.

10
                                          COUNT 1
                                        CONSPIRACY
11
                                         18 u.s.c. § 371
12          8.    Beginning on or about March 18, 2014 and continuing through at least April
13   2019, within the Southern District of California and elsewhere, Defendants CHARLES
14   RONALD GREEN, JR. and MELINDA ELIZABETH GREEN conspired and agreed with
15   each other, and with others, to commit Health Care Fraud, that is, to knowingly and with
16   the intent to defraud, devise and participate in a material scheme to defraud health care
17   benefit program, or to obtain money or property owned by, or under the custody or control
18   of, a health-care benefit program by means of false or fraudulent pretenses, representations,
19   or promises, in violation of Title 18, United States Code, Section 134 7.
20         9.     As part of their conspiracy to defraud health care benefit programs, beginning
21   on or about May 12, 2014 and continuing through at least on or about June 29, 2015 ,
22   Defendants conspired and agreed with each other and with others to execute a scheme to
23   defraud involving the submission of false and fraudulent claims to TRI CARE for expensive
24   and medically unnecessary pain creams, scar creams and multi-vitamins (collectively,
25   "compounded medications"), which were billed through Brookhaven and other pharmacies.
26          10.   In furtherance of the conspiracy, Defendants and others caused compounding
27   pharmacies, including Brookhaven, to make false and fraudulent claims to TRI CARE and
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                                                   3
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      other payers for medically unnecessary compounded medications that were dispensed
 1
      pursuant to false and fraudulent prescriptions obtained through a system of illegal health
 2
      care kickbacks (compounding fraud scheme).
 3
            11.    Brookhaven and other compounding pharmacies paid Defendant millions of
 4
      dollars in illegal kickbacks and other remuneration in exchange for the referral of the false
 5
      and fraudulent prescriptions for compounded medications belonging to TRICARE
 6
      beneficiaries. Specifically, Brookhaven and other pharmacies paid companies controlled by
 7

 8
      the Defendants approximately 55% of the amount received from health care benefit plans

 9
      including TRICARE, for each prescription referred to the pharmacies by Defendants.

10
      Defendants and others in turn paid a portion of this sum as a kickback to SKR and other so-
11    called "marketing" organizations, in exchange for, and as a further inducement to those

12
      organizations to, refer prescriptions for compounded medications for beneficiaries of health

13
      care benefit programs including TRICARE. TRICARE and other payers often reimbursed

14
      compounding pharmacies including Brookhaven thousands of dollars for a 30-day supply

15
      of a compounded pain or scar cream for one beneficiary.

16
            12.    In furtherance of the compounding fraud scheme, Defendants and others

17
      developed compounded medication formulations for the primary purpose of inflating the

18
      amount of money TRICARE would reimburse to Brookhaven, and to correspondingly

19    increase the amount of kickbacks and remuneration that NHS and its affiliated marketers

20    would receive.    Defendants and others executed the compounding fraud scheme, for

21    example, by using billing data to run "test claims" designed to identify high paying

22    components which the Defendants and others in turn assembled into expensive and

23    medically unnecessary compounded medication formulations paid for by TRI CARE and

24    other health care benefit plans. Once identified and assembled, Defendants and others

25    dispensed the prescription pads to marketing organizations including SKR that subsequently

26    caused telemedicine physicians to ratify them irrespective of medical necessity.

27    Additionally, Defendants and others perpetuated the compounding fraud scheme by falsely

28    wa1vmg msurance co-payment collection requirements.          The claims to TRI CARE for
                                                   4
     Case 3:20-cr-01566-DMS Document 67 Filed 09/10/21 PageID.393 Page 5 of 10




      compounded medications were engineered for maximum reimbursement and not based on
 1
      medical necessity, which constitutes a material misrepresentation to TRICARE as to the
 2
      validity of the claims.
 3
             13.   TRICARE paid false and fraudulent claims to Brookhaven and other
 4
      compounding pharmacies of at least $4.5 million dollars.
 5
             14.   As a continued part of the conspiracy, between no later than June 1, 2018 and
 6
      up to at least April 2019, Defendants CHARLES RONALD GREEN, JR. and MELINDA
 7
      ELIZABETH GREEN conspired and agreed with each other and with others to execute a
 8

 9
      scheme to defraud Medicare through the submission of false and fraudulent claims for

10
      expensive durable medical equipment (DME) which were induced through a system of

11
      illegal kickbacks (DME fraud scheme).

12
             15.   In furtherance of the DME fraud scheme, Defendants caused DME companies

13
      under their ownership or control (EZ LIFE, PRV, ZEE, and CHOICE) to make false and

14
      fraudulent claims on Medicare. Defendant and others executed the DME fraud scheme by

15
      purchasing "completed doctors ' orders" ("D.O.' s") from various "marketers" for Medicare

16    beneficiaries, which included a prescription signed by a doctor certifying that the

17
      beneficiary received an exam that met Medicare's requirements and that the DME was

18    medically necessary.

19           16.   In an attempt to disguise the DME fraud scheme from detection, Defendants

20
      and their co-conspirators entered into sham "marketing" and other contracts that concealed

21    the pay-per-Order arrangement.

22           17.   In addition to purchasing D.O.s in furtherance of making false and fraudulent

23    claims on behalf of DME companies they owned or controlled, Defendants in some

24    instances brokered D.O.s by re-selling them at a markup to other DME companies, through

25    their other companies (NHS and NHS SALES).

26           18.   Over the course of the DME fraud scheme, Defendants, through their various

27    entities, submitted false and fraudulent claims to Medicare as follows:

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                 a. from September 4, 2018 through April 4, 2019 (when it was placed on payment
 1
                    suspension), PRV submitted claims to Medicare totaling $40,560,360.43 for
 2
                    DME and was paid by Medicare $21 ,147,325.85;
 3
                 b. from June 1, 2018 through April 9, 2019, E.Z. Life submitted claims to
 4
                    Medicare totaling $84,323 ,467.09 for DME and was paid by Medicare
 5
                    $47,717,790.16;
 6

 7
                 c. from June 15, 2019 through June 29, 2020, CHOICE submitted claims to

 8
                    Medicare for orthotics totaling $496,843.09 and was paid by Medicare

 9
                    $272,920.66; and

10
                 d. from June 15, 2019 through June 29, 2020, ZEE submitted claims to Medicare

11
                    for orthotics totaling $1 ,552,105.62 and was paid by Medicare $777,873.02.

12
           19.      Defendants and others committed the following overt acts in furtherance of the

13
     conspiracy to defraud TRICARE and Medicare:

14
                 a. On or about May 8, 2015, in the Southern District of California, Defendants

15
                    and others caused the submission of a false and fraudulent claim to TRI CARE

16
                    in the approximate sum of $14,178 for Baclofen Powder.

17
                 b. On or about November 15, 2018, Defendants and others caused PRV Medical

18
                    to submit a medically unnecessary claim to Medicare in the amount of

19
                    $2,005.08, for a back brace, and a right-side shoulder-elbow-wrist-hand

20                  orthosis for Medicare patient M.G.

21               c. On or about January 18, 2019, Defendants and others caused E.Z. Life to

22                  submit a medically unnecessary claim to Medicare in the amount of $3 ,703.10,

23                  for a back brace, left and right knee braces, and left and right suspension

24                  sleeves for Medicare patient D.B.

25               d. On or about February 4, 2019, Melinda GREEN emailed two co-conspirators

26                  the prices she charged for D.O.'s for various types ofDME products.

27               e. On or about March 14, 2019, Charles Ronald GREEN prepared and submitted

28                  an invoice from NHS Pharma that concealed that NHS Pharma was being paid
                                                   6
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                   a per-brace kickback for selling D.O.'s, but claimed instead to be charging for
 1
                   a "TV Campaign," at a price of$35 ,000, a quantity of716 for "Landing Pages,"
 2
                   and $6,928.71 for processing hours.
 3
      All in violation of Title 18, United States Code, Section 371.
 4
                                            COUNT2
 5
                                    HEALTH CARE FRAUD
 6
                                         18 u.s.c. § 1347
 7          20.    In or about January 2019, Defendants Melinda Elizabeth Green and Charles
 8    Ronald Green, Jr. knowingly and with the intent to defraud, executed or attempted to
 9    execute a scheme to defraud a health-care benefit program, or to obtain money or property
1o    owned by, or under the custody or control of, a health-care benefit program, by means of
11    false or fraudulent pretenses, representations, or promises, and to obtain money or property
12    owned by, or under the custody or control of, a health-care benefit program by means of
13    false or fraudulent pretenses, representations, or promises, to wit, Defendants and others
14    caused E.Z. Life to submit a medically unnecessary claim to Medicare in the amount of
15    $3,703 .10, for a back brace, left and right knee braces, and left and right suspension sleeves
16    for Medicare patient D.B., in violation of Title 18, United States Code, Section 1347.
17                                 FORFEITURE ALLEGATIONS
18          21.    The allegations contained in Counts 1 and 2 are realleged and by their reference
19    fully incorporated herein for the purpose of alleging forfeiture to the United States of
20    America pursuant to the provisions of Title 18, United States Code, Section 982(a)(7).
21          22.    Upon conviction of one or more of the felony offenses alleged in this
22    Superseding Information as set forth above, and pursuant to Title 18, United States Code,
23    Section 982(a)(7), and Federal Rule of Criminal Procedure 32.2, defendants Melinda
24    Elizabeth Green and Charles Ronald Green, Jr. shall forfeit to the United States any
25    property, real or personal, which constitutes or is derived from gross proceeds traceable to
26    the commission of the violations, including but not limited to :
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                                                    7
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              • REAL PROPERTY LOCATED AT 1943 IDAHO AVENUE, ESCONDIDO,
 1              CALIFORNIA 92027, more particularly described as follows:
 2         Assessor's Parcel Number: 234-420-07-00
 3         Lot "A" OF THE Resubdivision of Block 273 , of the Rancho Rincon Del
           Diablo~ in the Coun!)' of San Die_go, State of California, according to Map
 4         thereor No. 1519, filed in the Office of the County Recorder of San Diego
           County, January 21 , 1913;
 5
              • REAL PROPERTY LOCATED AT 2936 MIDSUMMER DR
 6              WINDERMERE, FL, 34786, more particulary described as foilows:
 7         Lot 4, LAKE DOWN SHORES REPLAT, according to the plat thereof as
           recorded in Plat Book 4, Page 31~ Public Records of Orange County, Florida;
 8         together with an undivided one rorty-fourth (1 /44) interest in and to Lot 23,
           Bfock A, less the West 95 feet thereof, Lake Down Shores, according to the plat
 9         thereof as recorded in Plat Book T, Page 145, Public Records of Orange County,
           Florida.
10
           Parcel Identification Number: 04-23-28-4406-00040
11
           Subject to all reservations, covenants, conditions, restrictions and easements of
12         record and to all apP,l~cab~e zoning ordinances and/or restrictions imposed by
           governmental authorities, 1f any.
13
           Together with all the tenements, hereditaments and appurtenances thereto
14         belonging or in any way appertaining;
15
              • $49,812.40 INU.S. CURRENCY SEIZED FROM WELLS FARGO BANK
16              ACCOUNT NUMBER XX3071 ;
17            • $1 ,016,738.02 IN U.S. CURRENCY SEIZED FROM WELLS FARGO
                BANK ACCOUNT NUMBER XX1430;
18
              •   $15,448.64 IN U.S. CURRENCY SEIZED FROM WELLS FARGO BANK
19                ACOUNT NUMBER XX0706;
20            •   $559.15 IN U.S. CURRENCY SEIZED FROM WELLS FARGO BANK
                  ACCOUNT NUMBER XX0557;
21
              • $142,580.46 IN U.S. CURRENCY SEIZED FROM WELLS FARGO
22              BANK ACOUNT NUMBER XX9816;
23            • $60,961.48 IN U.S. CURRENCY SEIZED FROM WELLS FARGO BANK
                ACOUNT NUMBER XX6408;
24
              • $2,058,060.72 IN U.S. CURRENCY SEIZED FROM WELLS FARGO
25              BANK ACCOUNT NUMBER XX7253;
26            • $1,022.12 IN U.S. CURRENCY SEIZED FROM WELLS FARGO BANK
                ACOUNT NUMBER XX8049;
27

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                  • $4,983.50 IN U.S. CURRENCY SEIZED FROM BANK OF AMERICA
 1                  ACOUNT NUMBER XX5609;
 2                •   $4,388,112.64 IN U.S. CURRENCY SEIZED FROM FIDELITY
                      INVESTMENTS ACCOUNT NUMBER XX0472;
 3

 4
                  •   $2,134,352.70 IN U.S. CURRENCY SEIZED FROM FIDELITY
                      INVESTMENTS ACCOUNT NUMBER XX0473;
 5                •   $3,896,247.90 IN U.S. CURRENCY SEIZED FROM FIDELITY
                      INVESTMENTS ACCOUNT NUMBER XX0474;
 6

 7
                  •   $544,162.17 IN U.S. CURRENCY SEIZED
                      INVESTMENTS ACCOUNT NUMBER XX0475;
                                                                              FROM      FIDELITY

 8                •   $837,395.44 IN U.S. CURRENCY SEIZED
                      INVESTMENTS ACCOUNT NUMBER XX0476;
                                                                              FROM      FIDELITY
 9

10
                  •   $218,544.33 IN U.S. CURRENCY SEIZED
                      INVESTMENTS ACCOUNT NUMBER XX0477;
                                                                              FROM      FIDELITY

11                •   $292,635.83 IN U.S. CURRENCY SEIZED
                      INVESTMENTS ACCOUNT NUMBER XX4433 ;
                                                                              FROM      FIDELITY
12

13
                  •   $950.20 IN U.S. CURRENCY SEIZED
                      INVESTMENTS ACOUNT NUMBER XX2582;
                                                                             FROM       FIDELITY

14                • 2018 PORSCHE PANAMERA, CALIFORNIA LICENSE PLATE
                    NUMBER 8GTX359, VEHICLE IDENTIFICATION NUMBER
15                  WP0AB2A 76JL 13 5553 7;
16                • 2019 FORD LARIAT 4X2 F-150, FLORIDA LICENSE PLATE NUMBER
                    LEJQ98, VEHICLE IDENTIFICATION NUMBER
17                  1FTFW1C51KFB110044;
18                • 2019 AUDI 08 PREMIUM, FLORIDA LICENSE PLATE NUMBER
                    LCII94, VEHICLE IDENTIFICATION NUMBER
19                  WAlAVAF10KD010335;
20          23.       If any of the above-described forfeited property, as a result of any act or
21    omission of defendants Melinda Elizabeth Green and Charles Ronald Green, Jr., (a) cannot
22    be located upon the exercise of due diligence; (b) has been transferred or sold to, or
23    deposited with, a third party; (c) has been placed beyond the jurisdiction of the Court; (d)
24    has been substantially diminished in value; or (e) has been commingled with other property
25    which cannot be subdivided without difficulty, it is the intent of the United States, pursuant
26    to Title 21 , United States Code, Section 853(p ), made applicable herein by Title 18, United
27    States Code, Section 982(b)(l), and Title 28, United States Code, Section 2461(c), to seek

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                                                      9
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 1   forfeiture of any other property of defendants Melinda Elizabeth Green and Charles Ronald
 2   Green, Jr. up to the value of the property subject to forfeiture.
 3         All pursuant to Title 18, United States Code, Section 982.
 4
                                                    RANDY S. GROSSMAN
 5
                                                    Acting United States Attorney
 6   DATED:    cr/to/zo7-l
 7

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                                                    v~ 1fi?
                                                    Assistant U.S . Attorney

10                                                      ~.~J_.~
                                                    DAVID RAWLS
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                                                    Assistant U.S. Attorney
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